[Cite as State v. Costilla, 2024-Ohio-3221.]




                              IN THE COURT OF APPEALS OF OHIO
                                  SIXTH APPELLATE DISTRICT
                                       LUCAS COUNTY

State of Ohio/City of Toledo                             Court of Appeals No. L-23-1122

        Appellee                                         Trial Court No. CRB-23-2973

v.

Antonio Milo Costilla                                    DECISION AND JUDGMENT

        Appellant                                        Decided: August 23, 2024

                                                  *****

        Rebecca Facey, City of Toledo Prosecuting Attorney, and
        Jimmie Jones, Assistant Prosecuting Attorney, for appellee.

        Tyler Naud Jechura, for appellant.

                                                  *****

        ZMUDA, J.

                                               I. Introduction

        {¶ 1} This matter is before the court on appeal of the judgment of the Toledo

Municipal Court, sentencing appellant to 180 days in jail, with 150 days suspended, and

placing appellant on probation for one year, following a trial to the court and guilty

verdict on one count of domestic violence in violation of R.C. 2919.25(A) and one count

of assault in violation of R.C. 2903.13, each a misdemeanor of the first degree. Finding

no error, we affirm.
                         II. Facts and Procedural Background

       {¶ 2} On March 29, 2023, Toledo Police received two 911 calls regarding a

disturbance at a home on Willard Street. Each call was brief, with the second call

received around the time the first call disconnected.

       {¶ 3} The first caller gave her name and address and requested help removing

someone from her home. The caller then exclaimed, “He’s exposing his privates and

everything.” When asked who the caller is referencing, she identifies him as her “kid’s

dad.” The caller then says, “I just want him to leave” and states, “He’s trying to push me

out of my own house” and “He’s dumping beer and he’s all drunk.” She adds, “He’s an

alcoholic” and “He’s wrecking all my stuff.” As the caller starts to say, “My daughter is

freaking the fuck-,” she stops talking to the 911 operator and another female voice is

heard screaming, “He’s going to fucking kill you” as the operator asks, “what’s his name,

what’s his name,” before the call disconnects.

       {¶ 4} A second 911 call is received, and immediately the caller is heard screaming,

“Stop. Mom, he’s going to fucking kill you.” The caller then speaks to the 911 operator

and asks for police to come to the address, providing the street and address. The 911

operator informs the caller that 911 received a call already and police are en route to that

address. The caller never provides her name to the 911 operator, but continues to scream,

“Stop, please send somebody, hurry, please, please, please.” From this point, the caller

stops speaking to the 911 operator, but can be heard yelling and screaming at a distance

from the phone. The recording also includes a man’s voice, saying, “Don’t touch me” and



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“Why are you so loud?” The recording then includes three voices arguing. Finally, the

caller says, “Please mom, please get out.” As the 911 operator asks if there are weapons

or if anyone needs medical attention, the call disconnects.

         {¶ 5} Police arrived around 11:40 a.m. to the address, and proceeded toward the

home, the upper unit of a duplex. Police first encountered the victim’s daughter on the

front porch, and the daughter told officers that appellant was in the home, breaking

everything, and he had stabbed her mother in the face. As police climbed the stairs to the

upstairs unit, they encountered the victim at the door to the residence, trying to get inside.

The victim identified herself, and she had visible injuries and blood on her face and head.

Both the victim and her daughter gave appellant’s name to the officers, and the victim

told officers that appellant “was just beating the fuck out of me,” and that he did not live

there.

         {¶ 6} Officers asked appellant to open the door, but he refused and remained

barricaded in the home. Police forced their way into the residence and took appellant into

custody in the living room, just inside the front door. The home was in disarray, with

belongings broken and strewn all over the floor. Appellant was combative and appeared

inebriated. As police instructed him to stop resisting, appellant claimed he was not

resisting, and stated, “No, that’s my lady, bitch, she’s tripping, bro.” Police cleared the

home as officers placed appellant in the back of a cruiser for transport downtown.




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       {¶ 7} On March 29, 2023, appellant was charged with one count of domestic

violence in violation of R.C. 2919.25(A), a misdemeanor of the first degree, and one

count of assault in violation of R.C. 2903.13, a misdemeanor of the first degree.

       {¶ 8} On May 3, 2023, the matter proceeded to a bench trial.

       {¶ 9} At trial, the city had only one witness, Officer Kevin Gracely. After

establishing Officer Gracely’s background, the city immediately sought to introduce the

prosecution’s composite Exhibit A, identified as a 911 call. The defense objected “until

there’s more foundation laid.” The city identified the exhibit as a 911 call, with a

certificate of authenticity, a “self-authenticated document,” and indicated the call was

part of the discovery exchanged with the defense. The trial court permitted the city to

play the 911 audio. After playing audio, the trial court admitted composite Exhibit A

without objection.

       {¶ 10} Officer Gracely then testified that he was dispatched to the Willard Street

residence on March 29, 2023, in the morning. He was wearing a body camera and

testified that he reviewed the video recorded on that date. The city then played Officer

Gracely’s body camera footage identified as Exhibit B, without objection, stopping at

intervals to ask Gracely questions.

       {¶ 11} Referring to the video, Gracely identified the young woman he first

encountered as the victim’s daughter. Police were responding to a possible domestic

violence situation, and Gracely asked the daughter the name of the man in the residence.

She told him, “Antonio.” He then encountered the victim as she came down the steps, and



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noted a cut under her left eye that was bleeding and swollen. After he helped take

appellant into custody in the home, other officers secured the home. Nobody else was

present besides appellant, the victim, and the victim’s daughter.

       {¶ 12} The city then presented Exhibit C, a group of photographs of the victim’s

head and face, showing injury and blood, and pictures of the home, showing property

damage. Officer Gracely testified that the victim’s injuries were recent, based on the

redness and swelling and active bleeding. The trial court admitted the photographs

comprising Exhibit C without objection. The city then introduced Exhibits D and E, birth

certificates for two children sharing appellant’s surname, born to the victim and appellant,

with only one of the birth certificates listing appellant as father. The trial court admitted

Exhibits D and E without objection.

       {¶ 13} On cross examination, Officer Gracely admitted that the victim’s daughter

told him that she did not witness anything but arrived after the altercation and destruction

in the home. Gracely also testified that he did not take the photographs that were

admitted, depicting the injury and damage, and no weapon was taken from the scene.

       {¶ 14} At the close of testimony, defense counsel moved for acquittal, for the first

time challenging “some statements from a video from someone who’s not subject to cross

examination in this case.” Counsel argued that appellant’s name was not mentioned on

the 911 call, sufficient to connect the injuries to appellant. In response, the prosecution

argued that there was the 911 call, body cam video, documents establishing a relationship

between victim and appellant, and the visible injuries sustained by the victim. The city



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argued that, although the evidence is circumstantial, it is probative and “one can deduce

that this is exactly what happened.”

       {¶ 15} The trial court found the prosecution met its burden of producing evidence

to support the elements for the charged offenses and denied the motion for acquittal.

       {¶ 16} The defense rested without calling any witnesses and renewed the motion

for acquittal. After the trial court re-watched the body cam video and played the 911

audio again, the trial court denied the motion and the parties proceeded to closing

argument.

       {¶ 17} The city argued that the 911 audio demonstrated the victim and her

daughter were in fear and appellant’s presence was not welcome. The city also argued

that the body cam video showed the victim with a “fresh cut below her eye that was

bleeding” and the testimony established that nobody else besides the victim, her daughter,

and appellant were present. While no direct evidence was introduced to demonstrate that

appellant assaulted the mother of his children in the commission of domestic violence,

the city argued that the circumstantial evidence overwhelmingly demonstrated the

elements of the offenses.

       {¶ 18} In response, appellant’s trial counsel argued that there was no evidence to

connect appellant to the offenses. The victim did not identify appellant by name in the

911 call, and because the victim did not testify, appellant was not identified as the male

voice on the 911 audio. The victim’s daughter admitted to arriving after the altercation,




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and without the victim’s testimony, counsel argued the city failed to meet its burden of

proof.

         {¶ 19} The city, in reply, argued the victim’s statements on the 911 call occurred

during a commotion in the home and therefore constituted excited utterances, and the

victim identified her assailant as “her kids’ dad.” With evidence demonstrating appellant

is father of two of the victim’s children, the city argued the 911 audio identified appellant,

appellant was present in the victim’s home when police arrived, and the victim had

visible, fresh injuries.

         {¶ 20} In entering judgment, the trial court noted the contemporaneous statements

on the 911 audio, indicating “He’s my kids’ dad” and the daughter’s voice saying, “he’s

going to fucking kill you.” The trial court noted the sound of a commotion, “a disturbing

one at that.” The trial court also considered the statements made when police first arrived

to be excited utterance, considering the ongoing situation with appellant barricaded in the

home. The trial court noted statements made on the body camera video, including, “‘he

stabbed my mom in the face,” “He’s beating – he beat the fuck out of me,” “He punched

me,” and the identification of appellant by name. The trial court further noted that, after

entering the home by kicking the door in, only appellant was present, and appellant

referred to the victim as “my lady.” After considering the totality of the circumstances,

including the officer’s testimony, the body cam video, the 911 audio, the photographs,

and birth certificates, the trial court found appellant guilty of both charges.




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        {¶ 21} The trial court referred the matter for a presentence investigation report and

scheduled the matter for sentencing. At sentencing, the trial court imposed a jail term of

180 days as to the domestic violence charge, with 150 days suspended, and placed

appellant on active probation for one year, and imposed only a “no fine” sentence as to

the assault charge. Appellant filed a timely appeal from the judgment.

                                III. Assignments of Error

        {¶ 22} In challenging his conviction, appellant asserts the following as error:

     1. The conviction of the defendant should be reversed as the city failed to present

        sufficient evidence and the conviction is against the manifest weight of the

        evidence that was introduced.

     2. The defendant’s 6th Amendment rights were violated during trial as the city used

        testimonial evidence of witnesses not present at trial, thereby depriving him of his

        right to confront those witnesses and cross-examine them.

                                        IV. Analysis

        {¶ 23} Because the argument regarding the confrontation clause issue is

potentially dispositive, we address the assignments of error in reverse.

     A. Statements made by the victim and her daughter to the 911 operator and to
        Officer Gracely were not testimonial, and therefore admission of those
        recorded statements did not implicate the Confrontation Clause.

        {¶ 24} In his second assignment of error, appellant argues his right to confront

witnesses under the Sixth Amendment to the United States Constitution was violated by

admission of hearsay contained within the 911 calls and the body cam video. The



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Confrontation Clause bars admission of testimonial hearsay unless the declarant appears

as a witness at trial or the accused had a prior opportunity for cross-examination.

Crawford v. Washington, 541 U.S. 36 (2004). We review the admission of hearsay under

an abuse of discretion standard, but alleged errors involving the Confrontation Clause are

reviewed de novo. State v. McKelton, 2016-Ohio-5735, ¶ 97.

       {¶ 25} Appellant does not specifically address the hearsay issue and characterizes

all recorded statements as testimonial, without any supporting argument. Appellant’s

reference to the record, moreover, misstates the facts, claiming police found appellant “in

a closet” or that appellant and the victim were married, or that “there was no information

on how the injuries were caused, when they happened, or who caused them.” Finally,

appellant argues that “[t]he only information gathered by Toledo Police came from a

person who was not in the home [at] the time of the disturbance.” Appellant’s argument is

contrary to the record of the case. Appellant and the victim were not married, appellant

was just inside the front door to the home, and the record contains evidence of the source

of the victim’s injury, from the daughter, the victim, and based on the responding officer’s

observation upon arriving on scene.

       {¶ 26} Appellant, also, did not object to admission of the 911 audio or the body

cam video during trial, and only raised the issue of his right to confront witnesses within

his closing argument. In asserting a Sixth Amendment violation, appellant does not

identify specific statements that were testimonial, raising only general objections to “both

911 calls and the TPD bodycam” video, admitted as evidence without objection.



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Appellant generally argues, “This evidence was clearly testimonial in nature and

[appellant] did not have an opportunity to cross examine them.”

       {¶ 27} The city’s Composite Exhibit A was admitted as “911 calls,” but the actual

exhibit in the record on appeal contains audio files for two 911 calls, an incident detail

report, a certificate of authenticity for the 911 calls, and four body cam video files.

However, the trial transcript clearly limits the admission of evidence in Composite

Exhibit A to the two 911 audio recordings. Exhibit B contains Officer Gracely’s body

cam video, which is a duplicate of one of the body cam video files included in Composite

Exhibit A. Again, the trial transcript clearly demonstrates that only Officer Gracely’s

body cam video was played at trial, in conjunction with Gracely’s testimony. Therefore,

based on the record of trial and appellant’s challenge to all statements in the 911 calls and

a singular “bodycam,” we must limit our review to the 911 calls from the Composite

Exhibit A and Officer Gracely’s body cam video from Exhibit B.

       {¶ 28} Without identifying any specific statements within these two exhibits,

appellant appears to object to all statements recorded within the 911 calls and Officer

Gracely’s body cam video. We previously considered both 911 calls and body cam video

relative to confrontation issues, applying the “primary-purpose test” set forth in Davis v.

Washington, 547 U.S. 813 (2006) and State v. Jones, 2012-Ohio-5677. Where the

statements were made during the ongoing emergency and prior to securing the assailant,

as in this case, we have determined the statements were nontestimonial. See, e.g., State v.

Schnabel, 2019-Ohio-3024 (6th Dist.); State v. Stevenson, 2023-Ohio-4853 (6th Dist.).



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       {¶ 29} The “primary-purpose test” is used to distinguish between police

questioning concerning an ongoing emergency and questioning that relates to past

criminal conduct, to differentiate nontestimonial hearsay from testimonial hearsay.

“Because ‘only testimonial hearsay implicates the Confrontation Clause,’ the admission

of nontestimonial statements does not violate the Confrontation Clause.” State v.

Stevenson, 2023-Ohio-4853, ¶ 60 (6th Dist.), quoting State v. McKelton, 2016-Ohio-

5735, ¶ 185.

       {¶ 30} In considering the primary purpose of the statements, “[s]tatements are

nontestimonial when made in the course of police interrogation under circumstances

objectively indicating that the primary purpose of the interrogation is to enable police

assistance to meet an ongoing emergency. They are testimonial when the circumstances

objectively indicate that there is no such ongoing emergency, and that the primary

purpose of the interrogation is to establish or prove past events potentially relevant to

later criminal prosecution.” Jones at ¶ 145, quoting Davis at 822.

       {¶ 31} In State v. Williams, 2013-Ohio-726 (6th Dist.), we determined that a

neighbor’s 911 call, and a statement that a man was “beating this lady up real good,” and

that there were no weapons, “He’s just beating her,” were nontestimonial because,

“[v]iewed objectively, the primary purpose of the statements by the neighbor in the 911

call was to seek police assistance to aid [the victim] in an ongoing emergency involving

domestic violence.” Williams at ¶ 9-14. Similarly, in Toledo v. Jenkins, 2015-Ohio-1270
(6th Dist.), we determined the victim’s statements in a 911 call, identifying her attacker



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immediately after the assault, were a call for help during an ongoing emergency. Jenkins

at ¶ 16.

        {¶ 32} In State v. Santellana, 2020-Ohio-5041, we considered whether admission

of a 911 call violated the Confrontation Clause, applying the primary-purpose test. In that

case, the trial court admitted the 911 call placed by the victim, stating he had been robbed

at gunpoint by two men who kicked in his door, describing the robbers as Hispanic and

black men wearing masks, brandishing guns. The victim reported the robbers drove away

in a black car, and indicated the direction they fled the scene. Santellana at ¶ 3. A second

911 call was placed by a bystander, reporting they saw a black vehicle, pursued by police,

toss a gun from the car. Id. at ¶ 6. Based on the ongoing emergency and the purpose of

the statements to assist police in responding to the emergency, we determined the 911

calls were nontestimonial, and therefore did not violate the Confrontation Clause. Id at ¶

23.

        {¶ 33} In State v. Schnabel, we considered whether a victim’s statements to a 911

operator were testimonial. In Schnabel, police were called to the scene of a domestic

disturbance at a hotel. The victim’s statements to the 911 operator were made while the

assailant, the victim’s husband, was still in their hotel room. The victim was recorded

yelling at her husband to get away, describing what was done to her and the fact that the

children witnessed the assault. Schnabel at ¶ 16. We determined the 911 recording did not

contain testimonial hearsay, “as it was made in response to an ongoing emergency.” Id. at

¶ 17.



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       {¶ 34} Moreover, we further found the statements made to the responding officers

were nontestimonial. When police arrived at the hotel room, the victim was still on the

phone with 911, and although the husband was outside the door to the room, he seemed

to be highly intoxicated and the victim and the children were “very upset,” “crying,”

“shaking,” “highly agitated,” and “yelling.” Id. at ¶ 21-22. The victim told officers that

her husband grabbed her by her hair and threw her to the ground, complaining of injury

to her neck. Id. at ¶ 22. We determined the statement by the victim “was to aid in the

emergency and was not testimonial in nature.” Id. at ¶ 23.

       {¶ 35} Here, the 911 calls were made in quick succession, and based on the

content of the 911 recordings, occurred during the emergency. Furthermore, the only

question that received a response identified the assailant as the victim’s “kid’s dad.” A

911 call to report an ongoing emergency, with statements made contemporaneously with

the emergency to request police assistance, are not testimonial statements for Sixth

Amendment purposes. Schnabel, 2019-Ohio-3024 at ¶ 14 (6th Dist.), citing Davis, 547

U.S. at 826-827.

       {¶ 36} Likewise, the statements made to the responding officers, prior to securing

appellant and the scene, were not testimonial. The victim and her daughter identified

appellant, barricaded in their home, with police questioning limited to appellant’s

location and whether appellant had a gun. The victim’s injuries and demeanor, moreover,

are clear on the video.




13.
       {¶ 37} In State v. Stevenson, we addressed the admissibility of body cam video,

noting only testimonial hearsay implicated rights to confrontation. Stevenson at ¶ 60,

citing State v. McKelton, 2016-Ohio-5735, ¶ 185. We applied the primary-purpose test to

the statements made to police, recorded on body cam video, and considered whether the

statement was made to assist police in addressing an ongoing emergency. Stevenson at ¶

61, citing State v. Ford, 2021-Ohio-3058 (6th Dist.), ¶ 22. We focused on whether the

statement was made to assist police in determining what is happening in the present,

rather than “establish or prove past events potentially relevant to later prosecution.”

Stevenson at ¶ 61-62, citing Ford at ¶ 22, quoting Davis v. Washington, 547 U.S. 813, 822

(2006).

       {¶ 38} In making this determination, we considered the context, such as whether a

weapon is involved, and whether a risk continued to exist for the victims, the public, or

the police. Stevenson at ¶ 62-63. We also considered the manner of the questioning,

noting a more formal interrogation is likely to result in testimonial statements. Id. at ¶ 64.

In applying the primary-purpose test, we determined the recorded statements on body

cam video during an ongoing emergency were nontestimonial, as they were made prior to

apprehending the assailant. (Citations omitted) Stevenson at ¶ 69-70. In contrast, we have

previously determined that statements made after police have secured the scene and the

emergency has passed are testimonial. Stevenson at ¶ 68, citing Toledo v. Sailes, 2008-

Ohio-6400, ¶ 17 (6th Dist.); Toledo v. Green, 2015-Ohio-1864, ¶ 21-24 (6th Dist.).




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       {¶ 39} Similarly, in State v. Sproles, 2023-Ohio-3403 (6th Dist.), we considered

admission of the victim’s statements, recorded on the officers’ body camera, and

concluded the statements were nontestimonial. Sproles at ¶ 30. At the time of the

statements, the victim was visibly distraught and packing to flee the home before the

assailant returned. Id. The victim indicated that the assailant was armed and had just

threatened to kill her. Id. Based on the circumstances, we found the statements “had the

primary purpose to meet an ongoing emergency” and, therefore, were nontestimonial. Id.
       {¶ 40} In this case, police arrived while appellant was barricaded in the victim’s

home, and the victim and her daughter were both visibly upset. The police asked the

women for the name of the assailant and whether there were weapons involved. Without

prompting, the victim’s daughter informed police that appellant had “stabbed” her mother

in the face, and the victim’s injuries were actively bleeding when police first encountered

her. The victim, furthermore, was crying and upset, and told police that appellant “was

just beating the fuck out of me” and indicated the assailant was barricaded inside the

home. After police gained entry, they took appellant into custody and verified there were

no other people inside the home.

       {¶ 41} Whether an emergency exists at the time statements are provided is “a

highly context-dependent inquiry.” Stevenson at ¶ 62, quoting Michigan v. Bryant, 562

U.S. 344, 353 (2011). Here, based on the record, at the time of the statements recorded by

the body cam video, the police were clearly trying to assess what was happening, rather

than what had already happened, prior to taking appellant into custody. Id., citing Davis,



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547 U.S. at 830. Furthermore, the victim and her daughter made statements regarding the

origin of the victim’s injuries spontaneously and in a state of distress, and not in response

to interrogation. Finally, police asked for appellant’s name and then used that information

to communicate with appellant through the door, asking him to open the door. Consistent

with our precedent, such statements were nontestimonial. See, e.g, Stevenson at ¶ 69.

         {¶ 42} Accordingly, considering the record in this case, we find the recorded

statements of the victim and the victim’s daughter were not testimonial, and therefore did

not implicate the Confrontation Clause. Appellant’s second assignment of error, therefore,

is not well-taken.

      B. The convictions on each charge were supported by the sufficiency and weight
         of the evidence.

         {¶ 43} In his first assignment of error, appellant argues that his convictions were

against the sufficiency and weight of the evidence because the city presented only one

witness, Officer Kevin Gracely, who did not interview any witnesses, conduct his own

investigation, or personally witness any of the events inside the home. Appellant argues

that, without physical evidence from the scene or the testimony of an eyewitness, the city

failed to sustain its burden of sufficiency by producing evidence as to each element of the

offenses or its burden by the weight of the evidence by producing credible evidence to

support the verdict.




16.
       {¶ 44} Appellant was convicted of domestic violence in violation of R.C.

2919.25(A) and assault in violation of R.C. 2903.13. R.C. 2919.25(A) provides, “No

person shall knowingly cause or attempt to cause physical harm to a family or household

member.” R.C. 2903.13 provides, “No person shall knowingly cause or attempt to cause

physical harm to another[.]” Appellant argues that, without the testimony of the victim or

testimony of the officer who took photos of the victim’s injury or property damage, the

city failed to introduce sufficient and credible evidence to support conviction.

       {¶ 45} Appellant challenges both the sufficiency and weight of the evidence.

“Sufficiency of evidence is a term of art for applying the legal standard to determine

whether the evidence is legally sufficient to support the verdict as a matter of law.”

Toledo v. Manning, 2019-Ohio-3405, ¶ 13 (6th Dist.), citing State v. Thompkins, 78 Ohio

St.3d 380, 386 (1997). The test for sufficiency is one of adequacy, or “whether the

evidence, if believed, can sustain the verdict as a matter of law.” Manning at ¶ 12, citing

State v. Myers, 2018-Ohio-1903, ¶ 132. The sufficiency standard applies to the

prosecution’s burden of production at trial. State v. Messenger, 2022-Ohio-4562, ¶ 26.

       {¶ 46} The test of manifest weight of the evidence, on the other hand, applies to

the prosecution’s burden of persuasion. Messenger at ¶ 26. “A challenge to a conviction

based on the manifest weight of the evidence questions whether the trial court could find

a greater amount of credible evidence was admitted at trial to sustain that decision than

not.” Manning at ¶ 41, citing State v. Montgomery, 2016-Ohio-5487, ¶ 75, citing

Thompkins at 387. In reviewing a verdict against the manifest weight of the evidence, we



17.
give deference to the trial court’s credibility determinations, and the testimony of a single

witness, if believed, will support a conviction. Manning at ¶ 41-42, citing Myers, 2018-

Ohio-1903, ¶ 140-141.

       {¶ 47} Here, the city presented one witness and admitted several exhibits,

including the 911 recordings and Officer Gracely’s body cam video. This evidence

demonstrated that appellant was the only male present at the scene, the victim and her

daughter identified appellant as the assailant, both on the 911 calls and to Officer Gracely

as he responded to an active scene. Furthermore, the recording showed that the victim

had visible, still-bleeding injuries to her face and head. Finally, while appellant did not

reside with the victim, the evidence showed that appellant and the victim had children

together.

       {¶ 48} Thus, the city presented evidence as to each element of the offenses of

domestic violence and assault, as charged, to sustain the city’s burden of production. In

reviewing the entire record, moreover, we do not find that the trial court clearly lost its

way in weighing the evidence and finding appellant guilty as to each offense.

Considering the record, the greater amount of credible evidence supported the trial

court’s verdict as to domestic violence and assault. Based on this record, we find

appellant’s first assignment of error not well-taken.




18.
                                     V. Conclusion

       {¶ 49} Having found substantial justice has been done, we affirm the judgment of

the Toledo Municipal Court. Appellant is ordered to pay the costs of this appeal pursuant

to App.R. 24.

                                                                       Judgment affirmed.



       A certified copy of this entry shall constitute the mandate pursuant to App.R. 27.
See also 6th Dist.Loc.App.R. 4.




Thomas J. Osowik, J.                           ____________________________
                                                          JUDGE
Gene A. Zmuda, J.
                                               ____________________________
Charles E. Sulek, P.J.                                    JUDGE
CONCUR.
                                               ____________________________
                                                          JUDGE




       This decision is subject to further editing by the Supreme Court of
  Ohio’s Reporter of Decisions. Parties interested in viewing the final reported
       version are advised to visit the Ohio Supreme Court’s web site at:
                http://www.supremecourt.ohio.gov/ROD/docs/.




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